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  1
      Stephen M. Doniger, Esq. (SBN 179314)
      stephen@donigerlawfirm.com
  2   Scott A. Burroughs, Esq. (SBN 235718)
  3   scott@donigerlawfirm.com
      Trevor W. Barrett (SBN 287174)
  4   tbarrett@donigerlawfirm.com
  5   Justin M. Gomes (SBN 301793)
      jgomes@donigerlawfirm.com
  6   DONIGER / BURROUGHS
  7   603 Rose Avenue
      Venice, California 90291
  8   Telephone: (310) 590-1820
  9
      Attorneys for Plaintiff
 10
                            UNITED STATES DISTRICT COURT
 11
                          CENTRAL DISTRICT OF CALIFORNIA
 12

 13   WONGAB CORPORATION, a Korean                 Case No.: 2:17-cv-02974-AB-AGR
 14   Corporation,                                 Hon. Andre Birotte Jr. Presiding

 15                                                PLAINTIFF’S SECOND AMENDED
      Plaintiff,                                         COMPLAINT FOR:
 16
      vs.                                           1. COPYRIGHT INFRINGEMENT
 17

 18   NORDSTROM, INC., a Washington                 2. PATENT INFRINGEMENT
      corporation, individually and doing
 19   business as “Nordstrom Rack”; MAGGY           Jury Trial Demanded
 20   LONDON INTERNATIONAL, LTD, a
      New York Corporation, individually and
 21   doing business as “IVY + BLUE”;
 22   HALOGEN, a business entity of form
      unknown; LABEL BY 512, a business
 23   entity of form unknown; and DOES 1-10,
 24
      Defendants.
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 28                                            1
                                 SECOND AMENDED COMPLAINT
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  1         Plaintiff, WONGAB CORPORATION (“WONGAB”), by and through its
  2   undersigned attorneys, hereby prays to this honorable Court for relief based on the
  3   following:
  4                                     INTRODUCTION
  5         Plaintiff creates unique fabrications for use in the fashion industry. Plaintiff
  6   owns these designs in exclusivity and makes sales of products bearing these designs
  7   for profit. Plaintiff’s business is predicated on its ownership of these designs and it
  8   spends a considerable amount of time and resources creating marketable and
  9   aesthetically-appealing designs. Ongoing and potential customers of Plaintiff obtain
 10   design samples from the company with the understanding and agreement that they
 11   will only utilize WONGAB to reproduce said designs should they wish to do so, and
 12   will not seek to produce the designs elsewhere, or make minor changes to Plaintiff’s
 13   proprietary work to reproduce the same elsewhere. Despite this agreement, and
 14   WONGAB’s exclusive ownership of the copyrights in its designs, parties will still
 15   exploit and produce WONGAB’s exclusive designs through third parties
 16   domestically and abroad. The defendants in this case have imported, purchased, and
 17   sold without permission product bearing one of Plaintiff’s proprietary textile designs.
 18         Additionally, WONGAB owns U.S. Patent No. 8,448,476 which is directed to
 19   a warp knitting fabric design. Defendants have infringed that patent by offering to
 20   sell and selling products that incorporated the patented material as base fabric.
 21                              JURISDICTION AND VENUE
 22           1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
 23     et seq. , and under the Patent Act, Title 35 U.S.C. § 1 et. seq.
 24           2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
 25     1338 (a) and (b).
 26           3. Venue in this judicial district is proper under 28 U.S.C. § 1931(b), 1391(c),
 27     1400(a), and 1400(b) in that this is the judicial district in which a substantial part of
 28                                               2
                                      SECOND AMENDED COMPLAINT
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  1    the acts and omissions giving rise to the claims occurred, and because defendants
  2    have regularly conducted business in this judicial district and certain of the acts
  3    complained herein occurred in this judicial district. Specifically, Defendants, and
  4    each of them, maintain properties and retail stores in this district and marketed,
  5    distributed, and sold the product at issue in this district.
  6                                          PARTIES
  7          4. Plaintiff WONGAB is a corporation organized and existing under the laws
  8    of Korea with its principal place of business located in Seoul, Korea, and is doing
  9    business in and with the state of California.
 10          5. Plaintiff is informed and believes and thereon alleges that Defendant
 11    Nordstrom, Inc., individually and doing business as “Nordstrom Rack”
 12    (collectively “Nordstrom”) is a Washington corporation that is doing business in
 13    and with state of California.
 14          6. Plaintiff is informed and believes and thereon alleges that Defendant
 15    MAGGIE LONDON INT’L, LTD, individually and doing business as IVY +
 16    BLUE (collectively “Ivy”) is a business of form unknown doing business in and
 17    with California.
 18          7. Plaintiff is informed and believes and thereon alleges that Defendant
 19    HALOGEN is a business of form unknown doing business in and with California.
 20          8. Plaintiff is informed and believes and thereon alleges that Defendant
 21    LABEL BY 512 (“512”) is a business of form unknown doing business in and with
 22    California.
 23          9. Plaintiff is informed and believes and thereon alleges that Defendants
 24    DOES 1-10, inclusive, are manufacturers and/or vendors (and/or agents or
 25    employees to a manufacturer or vendor) of garments, which DOE Defendants have
 26    manufactured and/or supplied and are manufacturing and/or supplying fabrics and
 27    other product produced with certain of Plaintiff’s copyrighted designs (as
 28                                               3
                                       SECOND AMENDED COMPLAINT
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  1    hereinafter defined) and covered by Plaintiff’s patent without Plaintiff’s knowledge
  2    or consent or have contributed to said infringement, or other currently unknown
  3    retail or wholesale customers of the named defendants. Plaintiff will seek leave to
  4    amend this Complaint to show their true names and capacities when same have
  5    been ascertained.
  6          10.Plaintiff is informed and believes and thereon alleges that at all times
  7    relevant hereto each of the Defendants was the agent, affiliate, officer, director,
  8    manager, principal, alter-ego, and/or employee of the remaining Defendants and
  9    was at all times acting within the scope of such agency, affiliation, alter-ego
 10    relationship and/or employment; and actively participated in or subsequently
 11    ratified and adopted, or both, each and all of the acts or conduct alleged, with full
 12    knowledge of all the facts and circumstances, including, but not limited to, full
 13    knowledge of each and every violation of Plaintiff’s rights and the damages to
 14    Plaintiff proximately caused thereby.
 15              CLAIMS RELATED TO DESIGN PCM-2299; D69; D153
 16          11. Plaintiff owns design it has titled PCM-2299 (“Subject Design A”),
 17    which was registered with the U.S. Copyright Office on June 16, 2014. A copy of
 18    this registration is included as part of Exhibit A. Plaintiff is informed and believes
 19    and thereon alleges that Plaintiff registered Subject Design A with the United
 20    States Copyright Office prior to the infringement at issue in this action. Plaintiff
 21    also owns a design it has entitled D69 (“Subject Design B”). Plaintiff owns a third
 22    design it has titled D153 (“Subject Design C”). These three designs will be referred
 23    to as the “Subject Designs” and are pictured hereunder.
 24          12. Plaintiff registered each of the Subject Designs with a nation’s copyright
 25    registrar or the designs are exempt from the registration requirements because
 26    Wongab is a company located in the Republic of Korea, and said nation has
 27    acceded to the Berne Convention.
 28                                              4
                                    SECOND AMENDED COMPLAINT
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  1             13. Plaintiff marketed and/or sold fabric incorporating Plaintiff’s designs to
  2       entities in the fashion industry before the acts complained of herein. Plaintiff sold
  3       well over 500,000 yards of fabric bearing the Subject Designs in the United States
  4       and around the world prior to the infringement complained of herein including to
  5       multiple customers in New York, where Ivy and Jonathon Simkhai,1 two of
  6       Nordstrom’s vendors for the infringing product, are both located. Plaintiff’s
  7       customers then incorporated Plaintiff’s fabric bearing the Subject Designs into
  8       garments which were the publicly advertised and sold at major retailers across the
  9       country before the infringement complained of herein. Defendants, and each of
 10       them, could have accessed Plaintiff’s fabric as incorporated into these products that
 11       were sold in large quantities across the country before the infringement at issue.
 12       Specifically, Defendants could have accessed Plaintiff’s fabric by (a) obtaining
 13       from a retail store garments incorporating Plaintiff’s fabric; (b) obtaining from a
 14       garment wholesaler garments incorporating Plaintiff’s fabric; (c) obtaining from a
 15       factory, importer, or distributor Plaintiff’s fabric or garments incorporating
 16       Plaintiff’s fabric; or (d) obtaining from a sales representative or sales agent
 17       Plaintiff’s fabric or garments incorporating same. As Plaintiff, Plaintiff’s customers
 18       and client, and the Defendants, and each of them, all operate in the fashion
 19       industry, Defendants, or their vendors or affiliates, had a reasonable opportunity to
 20       access Plaintiff’s fabric.
 21             14. Access is further established by the striking similarity between Plaintiff’s
 22       fabric and the fabric marketed and sold by Defendants, as well as Defendants’
 23       collective failure to identify any evidence that any of them created, licensed, or
 24       otherwise obtained right in, the unique fabrics at issue
 25             15. Plaintiff is informed and believes and thereon alleges that, following this
 26       distribution of product bearing Subject Designs, Defendants, and each of them,
 27   1
          The claims against this company have been resolved and dismissed.
 28                                                 5
                                       SECOND AMENDED COMPLAINT
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  1         created, manufactured, caused to be manufactured, imported, distributed, and/or
  2         sold fabric and/or garments comprised of fabric incorporating designs that are
  3         identical, or substantially similar, to the Subject Designs, and reflect copying of
  4         each of the original protectable elements of the Subject Designs (hereinafter
  5         “Accused Product”) without Plaintiff’s authorization. Accused Product includes,
  6         but is not limited to garments pictured in Exhibit A hereunder.
  7               16. A comparison of the Subject Designs and Accused Product is set forth
  8         below in Exhibit A. A comparison of the designs and their constituent elements
  9         makes clear that the elements, composition, colors, selection, arrangement, layout,
 10         and appearance of the designs are strikingly similar, or at least substantially
 11         similar, and that the original elements in the Subject Designs have been copied by
 12         Defendants or their supplier(s). The exemplars set forth in Exhibit A are
 13         representative and are not meant to inclusive of all product marketed and sold by
 14         Defendants, or any of them, that incorporate one or more of the Subject Designs.
 15         Images of the WONGAB ground fabric are also included in Exhibit A. A
 16         comparison between the fabrics at issue is best accomplished through a comparison
 17         of the physical fabrics and garments and as such Plaintiff identifies via the pictures
 18         in Exhibit A the physical fabric and garments at issue and hereby incorporates
 19         them by reference as part of this complaint. Such garments will be presented to the
 20         court and fact-finder upon reasonable notice. The Subject Designs are set forth in
 21         full below:
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                                         SECOND AMENDED COMPLAINT
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  1                                Subject Design A:
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                                 SECOND AMENDED COMPLAINT
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  1                                Subject Design B:
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                                   Subject Design C:
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                                 SECOND AMENDED COMPLAINT
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  1                 CLAIMS RELATED TO U.S. PATENT NO. 8,448,476
  2          17. On May 28, 2013, U.S. Patent No. 8,448,476 entitled “WARP
  3    KNITTING FABRIC HAVING GROUND ORGANIZATION EXPRESSING
  4    VARIOUS DESIGN PATTERNS” (“the ‘476 patent”), was duly and legally issued
  5    to inventor Il-Soo Lee. A true copy of the ‘476 patent is attached hereto as
  6    Exhibit B.
  7          18. WONGAB is the owner by assignment of the ‘476 patent with full and
  8    exclusive right to bring suit to enforce the ‘476 patent.
  9          19. The ‘476 patent generally relates to a warp knit fabric having a number
 10    of areas of different distinctive loop patterns and arrays of chain numbers with the
 11    patterns changing in both the longitudinal and lateral directions. Exemplary Fig. 6
 12    from the front page of the patent is reproduced below.
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             20. On information and belief, the Defendants have been and are infringing,
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       contributing to infringement, and/or inducing others to infringe the ‘476 patent by
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       making using, offering for sale, selling or important fabric that infringes the ‘476
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       patent. Defendants are sophisticated entities in the fashion and apparel industries
 26
       and are uniquely aware of the existence of patents associated with methods for
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                                    SECOND AMENDED COMPLAINT
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  1    creating fabrics. Despite this, Defendants recklessly utilized distinct warp-knit
  2    fabric which they either knew or should have known to have been illegally made
  3    using patented methods. Certain Defendants, with knowledge of the infringing
  4    nature of the warp-knit fabric comprising the infringing garments, ordered,
  5    manufactured, sold and distributed the infringing garments to their customers with
  6    the specific intention of encouraging the further manufacture, sale, and distribution
  7    of the infringing product and the infringement of the ‘476 patent inherent therein.
  8    Defendants’ acts of infringement have occurred within this district and elsewhere
  9    throughout the United States.
 10          21. Specifically, the patented claims read on the Defendants’ product in at
 11    least the following ways: Defendants’ garments employ a warp knitted fabric
 12    consisting of a variety of loop shapes (circles, hexagons, ovals, triangles, etc.) as
 13    their ground organization. The garments also incorporate a ground fabric
 14    comprising warp units that bears a loop shape with offset units and bears a pattern
 15    knitted onto the knitted ground fabric. And the ground fabric for the Disputed
 16    Product bears a warp-knitted fabric with the warps knitted via a multi-needle
 17    process with offset ground bars that knit a loop shape, and bears a pattern
 18    organization knitted onto the ground organization. The ground fabric on
 19    Defendants’ garments includes multiple designs that are continuously arranged
 20    across the entirety of the ground fabric organization in a repeating pattern. And
 21    each “unit” of the ground fabric on the Defendants’ garments includes multiple
 22    designs arranged in a vertical direction of the ground organization. Rather than
 23    consisting of the same loop shape (i.e. all circles), each unit contains a varying
 24    pattern loop shapes (i.e. circles, followed by hexagons, followed by triangles).
 25    And each of the unit organizations is formed by consecutively knitted plurality of
 26    loops having various shapes in the up-and-down direction and different shapes in
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 28                                              10
                                     SECOND AMENDED COMPLAINT
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  1    the transverse direction, with the unit structures having a zig-zag spatial array and
  2    the widths and lengths having different sizes and scales.
  3          22. On information and belief, the Defendants have willfully infringed the
  4    ‘476 patents by continuing their acts of infringement after being on notice of the
  5    patent.
  6                             FIRST CLAIM FOR RELIEF
  7                 (For Copyright Infringement - Against All Defendants)
  8          23. Plaintiff repeats, re-alleges and incorporates herein by reference as
  9    though fully set forth the allegations contained in the preceding paragraphs of this
 10    Complaint.
 11          24. Plaintiff is informed and believes and thereon alleges that Defendants,
 12    and each of them, had access to the Subject Designs, including, without limitation,
 13    through access to the thousands of yards of fabric that Plaintiff created, marketed,
 14    and shipped before the infringement at issue, as well as through access to the
 15    garments that were made from Plaintiff’s fabric and marketed, distributed, and sold
 16    throughout the United States online and in large retail stores. Defendants may also
 17    have had access through illegally distributed copies of the Subject Designs and
 18    fabric bearing same by third-party vendors and/or DOE Defendants, including
 19    without limitation international and/or overseas converters. Defendants may have
 20    also had access to legitimate WONGAB fabric in the marketplace due to
 21    WONGAB’s extensive sales of product bearing the Subject Designs and the
 22    widespread dissemination of such product by WONGAB and its downstream
 23    customers to prominent retailers throughout the country and around the world.
 24          25. Plaintiff is informed and believes and thereon alleges that one or more of
 25    the Defendants manufactures garments and/or is a garment vendor. Plaintiff is
 26    further informed and believes and thereon alleges that said Defendant(s) has an
 27    ongoing business relationship with Defendant retailer, and each of them, and
 28                                             11
                                    SECOND AMENDED COMPLAINT
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  1    supplied garments to said retailer, which garments infringed Plaintiff’s rights in the
  2    Subject Designs in that said garments incorporated fabric that featured an
  3    unauthorized textile design that was identical or substantially similar to one or
  4    more of the Subject Designs.
  5          26. Plaintiff is informed and believes and thereon alleges that Defendants,
  6    and each of them, infringed Plaintiff’s copyright by creating, making and/or
  7    developing directly infringing and/or derivative works from the Subject Designs
  8    and by producing, distributing and/or selling fabric and/or garments that infringes
  9    Plaintiff’s rights in the Subject Designs through a nationwide network of retail
 10    stores and on-line outlets. Specifically, Defendants, and each of them, have
 11    marketed, distributed, and sold a product that includes a base fabric that is copied
 12    from Plaintiff’s design. Each of the units, the selection and arrangement of the
 13    units, the scope, the array, and the loop structures are at least substantially similar
 14    in both Plaintiff’s design and the Defendants’ product.
 15          27. Due to Defendants’ acts of infringement, Plaintiff has suffered
 16    substantial damages to its business in an amount to be established at trial.
 17          28. Due to Defendants’ acts of infringement, Plaintiff has suffered general
 18    and special damages in an amount to be established at trial.
 19          29. Due to Defendants’ acts of copyright infringement as alleged herein,
 20    Defendants, and each of them, have obtained direct and indirect profits they would
 21    not otherwise have realized but for their infringement of Plaintiff’s rights in the
 22    Subject Designs. As such, Plaintiff is entitled to disgorgement of Defendant’s
 23    profits directly and indirectly attributable to Defendant’s infringement of Plaintiff’s
 24    rights in the Subject Designs in an amount to be established at trial.
 25          30. Plaintiff is informed and believes and thereon alleges that the
 26    infringement of WONGAB’s copyrighted designs was willful, reckless, and/or in
 27    blatant disregard for WONGAB’s rights as a copyright holder, and as such claims
 28                                              12
                                     SECOND AMENDED COMPLAINT
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  1     willful, exemplary and enhanced statutory damages and/or the right to preclude
  2     certain affirmative defenses.
  3                             SECOND CLAIM FOR RELIEF
  4                     (For Patent Infringement - Against All Defendants)
  5           31. Plaintiff repeats, realleges and incorporates herein by reference as though
  6     fully set forth the allegations contained in the preceding paragraphs of this
  7     Complaint.
  8           32. In violation of 35 U.S.C. §271, Defendants have infringed and are
  9     continuing to infringe, literally and/or under the doctrine of equivalents, the ‘476
 10     patent by making, using, importing, offering for sale, and/or selling fabric that
 11     infringes the ‘476 patent.
 12           33. Plaintiff has marked its patented material per 35 U.S.C. § 287(a) with the
 13     ‘476 patent identifier since at least 2012 in the Korean market and at least May of
 14     2014 in the United States and international markets. As such, Defendants, and each
 15     of them, had constructive notice, both through this marking and Plaintiff’s Federal
 16     patent registration, of Plaintiff’s patent rights. Defendant’s, and each of their,
 17     exploitation of the patented material with such notice constitutes willful
 18     infringement.
 19           34. Plaintiff has been damaged by the Defendants’ infringement, and
 20     Defendants will continue their infringing activity and Plaintiff will continue to be
 21     damaged.
 22                                  PRAYER FOR RELIEF
 23   Wherefore, Plaintiff prays for judgment as follows:
 24                                     Against All Defendants
 25          With Respect to the First and Second Claims for Copyright Infringement
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                                        SECOND AMENDED COMPLAINT
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  1           a. That Defendants, their agents and employees be enjoined from
  2              infringing Plaintiff’s copyrights in any manner, specifically those for the
  3              Subject Designs;
  4           b. That Plaintiff be awarded all profits of Defendants plus all losses of
  5              Plaintiff, plus any other monetary advantage gained by the Defendants
  6              through their infringement, the exact sum to be proven at the time of
  7              trial, or, if elected before final judgment, statutory damages as available
  8              under the Copyright Act, 17 U.S.C. § 504 et seq.;
  9           c. That Plaintiff be awarded additional, enhanced, and elevated damages
 10              given the reckless and willful nature of the acts alleged;
 11           d. That Plaintiff be awarded its costs and attorneys’ fees as available under
 12              the Copyright Act, 17 U.S.C. § 505 et seq.;
 13           e. That Defendants, and each of them, account to Plaintiff for their profits
 14              and any damages sustained by Plaintiff arising from the foregoing acts
 15              of infringement;
 16         With Respect to the Third Claim for Patent Infringement
 17           f. That Defendants, their agents and employees, all parent and subsidiary
 18              corporations, all assignees and successors in interest, and those persons
 19              in active participation with Defendants, be enjoined from infringing
 20              Plaintiff’s ‘476 patent in any manner;
 21           g. an award of damages under 35 U.S.C. § 287 for Defendants’
 22              infringements of Plaintiff’s ‘476 patent;
 23           h. a trebling of damages pursuant to 35 U.S.C. § 284;
 24           i. an award of attorney fees pursuant to 35 U.S.C. § 285;
 25        With Respect to Each Claim for Relief:
 26           j. That Plaintiff be awarded pre-judgment and post-judgment interest as
 27              allowed by law;
 28                                            14
                                    SECOND AMENDED COMPLAINT
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  1           k. That Plaintiff be awarded the costs of this action; and
  2           l. That Plaintiff be awarded such further legal and equitable relief as the
  3              Court deems proper.
  4        A TRIAL BY JURY PURSUANT TO FED. R. CIV. P. 38 AND
  5   CONSTITUTIONAL AMENDMENT SEVEN IS HEREBY DEMANDED.
  6                                                 Respectfully submitted,
  7

  8        Dated: October 20, 2017      By:         /s/ Scott A. Burroughs
  9
                                                    Scott A. Burroughs, Esq.
                                                    Trevor W. Barrett, Esq.
 10                                                 Justin M. Gomes, Esq.
 11                                                 DONIGER / BURROUGHS
                                                    Attorneys for Plaintiff
 12                                                 Wongab Corporation
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                                   SECOND AMENDED COMPLAINT
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  1                                    EXHIBIT A:
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  3   WONGAB CLAIMS:            ACCUSED NORDSTROM PRODUCT:
  4   1. Copyright and patent
  5   claims are made as to
  6   the ground fabric.
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                                Romeo + Juliet
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                                Style or SKU No: 439014 394858
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                                  SECOND AMENDED COMPLAINT
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  1   2.(a) Copyright and
  2   patent claims are made
  3   as to the ground fabric;
  4   and (b) copyright claims
  5   are made as to the
  6   overlay design (D153).
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 24                              Label by 512
 25                              Style or SKU No: L17821 6532
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                                   SECOND AMENDED COMPLAINT
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  1   3. Copyright and patent
  2   claims are made as to
  3   the ground fabric.
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 25                             Label by 512
 26                             Style or SKU No: L2141243576
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                                  SECOND AMENDED COMPLAINT
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  1   4. Copyright and patent
  2   claims are made as to
  3   the ground fabric.
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                                Ivy + Blue
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                                Style or SKU No: S2275M or 641236 795812
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                                  SECOND AMENDED COMPLAINT
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  1   5. Copyright claims are
  2   made as to the overlay
  3   design (D69).
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                                  Nordstrom
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                                  Style or SKU No: unknown (found online)
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                                 SECOND AMENDED COMPLAINT
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  1   6. Copyright and patent
  2   claims are made as to the
  3   ground fabric.
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 25                               Halogen

 26                               Style or SKU No: HA309213MP

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                                  SECOND AMENDED COMPLAINT
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  1                          WONGAB GROUND FABRIC:
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